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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                       September 01, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                         Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

IN RE:                          §
                                §
HOUSTON REAL ESTATE PROPERTIES, §                           CASE NO. 22-32998
LLC,                            §                              (Chapter 7)
      Debtor.                   §
                                §
JOHN QUINLAN, OMAR KHAWAJA,     §
AND OSAMA ABDULLATIF,           §
             Movants,           §                           ADVERSARY NO. 23-03141
                                §
v.                              §
                                §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, et al.,                    §
             Respondents.       §

                       ORDER GRANTING TEMPORARY RESTRAINING ORDER
         The Court considered Movants’ Original and Verified Supplemental Complaint and

Application for Injunctive Relief against Cypress BridgCo, LLC, Magnolia BridgeCo, LLC,

Shepherd-Huldy Development I, LLC, 9201 Memorial Dr. LLC, 2727 Kirby 26L LLC, five of the

named defendants and or Respondents herein. Having heard the evidence and arguments of

counsel and having read Movants’ Original and Verified Supplemental Complaint and Application

for Injunctive Relief, the Court is of the opinion that Movants are entitled to a temporary

restraining order; that unless Cypress BridgCo, LLC, Magnolia BridgeCo, LLC, Shepherd-Huldy

Development I, LLC, 9201 Memorial Dr. LLC, 2727 Kirby 26L LLC, their agents, assignees,

servants, representatives, employees, officers, directors, partners, associates, and all parties

affiliated with them, are immediately restrained and enjoined from selling, conveying, devising,

transferring, and or foreclosing upon, that certain real property with the common addresses of:




                                                1

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                   [1] 2503 S. Shepherd Dr., Houston, Texas 77019;
                   [2] 2421 Shepherd Dr., Houston, Texas 77019;
                   [3] 2502 Huldy St., Houston, Texas 77019;
                   [4] 2424 Huldy St., Houston, Texas 77019;
                   [5] 9201 Memorial Drive, Houston, Texas 77024; and
                   [6] 2727 Kirby 26L, Houston, Texas 77098;

all in Harris County, Texas and legally described in the applicable Notices of Foreclosure Sale and

Deeds of Trust 1, which are a part of the record, (the “Properties”), and foreclosing on those certain

deed or deeds of trust then they shall sell or convey or foreclose upon the Properties before notice

can be given and a hearing is had on Movants’ Original and Verified Supplemental Complaint and

Application for Injunctive Relief; and that if the commission of the aforementioned acts are not

restrained immediately, Movants will suffer irreparable injury and harm. It is therefore,

         ORDERED, ADJUDGED AND DECREED, that Cypress BridgCo, LLC, Magnolia

BridgeCo, LLC, Shepherd-Huldy Development I, LLC, 9201 Memorial Dr. LLC, 2727 Kirby 26L

LLC, their agents, assignees, servants, representatives, employees, officers, directors, partners and

all parties affiliated with them are hereby enjoined and restrained from directly or indirectly

selling, conveying, and or foreclosing, attempting to sell, convey, and or foreclose, taking steps to

perfect the sale, conveyance, and or foreclosure, and posting for sale, conveyance, and or

foreclosure, the Properties, and if the commission of said acts be not immediately restrained, then

Movants will suffer immediate and irreparable injury and harm. Aside from this temporary

restraining order, there is no other adequate remedy at law which can immediately stop the above

mentioned injury. It is further,

         ORDERED, ADJUDGED AND DECREED, that Cypress BridgCo, LLC, Magnolia

BridgeCo, LLC, Shepherd-Huldy Development I, LLC, 9201 Memorial Dr. LLC, 2727 Kirby 26L



1
 See Document Numbers 25-1, 25-2, and 25-3, in this Adversary proceeding, for the applicable No�ces of Foreclosure
Sale and Deeds of Trust and legal descrip�ons. These documents are hereby incorporated by reference herein.

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LLC, appear for the temporary injunction to be heard before this honorable court on the 12th day

of September 2023, at 10 o’clock a.m., then and there to show cause, if any, as to why a temporary

injunction should not be issued as requested by Movants. The clerk of the Court is hereby directed

to issue a show cause notice to Cypress BridgCo, LLC, Magnolia BridgeCo, LLC, Shepherd-Huldy

Development I, LLC, 9201 Memorial Dr. LLC, 2727 Kirby 26L LLC to appear at the temporary

injunction hearing. It is further,

         ORDERED, ADJUDGED AND DECREED, that the terms of this temporary restraining

order shall remain in place as required by law or order of the Court. It is further,

         ORDERED, ADJUDGED AND DECREED, that Movants execute and file with the Clerk

a Bond, in conformity with the law in the amount of $100,000.00, as approved by the Clerk of

this Court. It is further,

         ORDERED, ADJUDGED AND DECREED, that the Clerk shall, on the filing by Plaintiff

of the Bond required, and on approving the same according to law, issue a temporary restraining

order and all necessary Writs in conformity with the law and the terms of this Order.

         SIGNED on this 1ST day of September 2023, at 8:43 o’clock A.M.




                       September   01, 2023
                         April 04, 2018                                            ____
                                                      JUDGE PRESIDING




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